Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 1 of 23




                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION


      IN RE: ENGLE CASES                                        Case No. 3:09-cv-10000-WGY-JBT

      Pertaining to:

      Brown v. R.J. Reynolds Tobacco Co., et al., Case No. 3:09-cv-10687
      Corcoran v. R.J. Reynolds Tobacco Co., et al., Case No. 3:09-cv-11363
      Drake v. R.J. Reynolds Tobacco Co., et al., Case No. 3:09-cv-11090
      Dybas v. R.J. Reynolds Tobacco Co., et al., Case No. 3:09-cv-13698
      Fischer v. R.J. Reynolds Tobacco Co., et al., Case No. 3:09-cv-13801
      Gray v. R.J. Reynolds Tobacco Co., et al., Case No. 3:09-cv-13603
      Hecht v. R.J. Reynolds Tobacco Co., et al., Case No. 3:09-cv-11228
      Landau v. R.J. Reynolds Tobacco Co., et al., Case No. 3:09-cv-13728
      Lennox v. R.J. Reynolds Tobacco Co., et al., Case No. 3:09-cv-13744
      McLeod v. R.J. Reynolds Tobacco Co., et al., Case No. 3:09-cv-14246
      Sowers v. R.J. Reynolds Tobacco Co., et al., Case No. 3:09-cv-11829
      Woodruff v. R.J. Reynolds Tobacco Co., et al., Case No. 3:09-cv-12594
      Wozniak v. R.J. Reynolds Tobacco Co., et al., Case No. 3:09-cv-11941
      Zamboni v. R.J. Reynolds Tobacco Co., et al., Case No. 3:09-cv-11957


                               PLAINTIFFS’ OPPOSITION TO
                         DEFENDANTS’ ALL-CASES MOTIONS IN LIMINE

     I.          PLAINTIFF’S OPPOSITION RE IMPROPER ARGUMENTS AND
                 EVIDENCE.

          1. Defendants’ Motion to Preclude Relevant Evidence and Appropriate
     Argument, Already Admitted in Previous Trials, Should be Denied.

                 Under the guise of a motion in limine, and based on cherry-picked isolated

     excerpts taken out of context, Defendants ask this Court to second-guess Judge Carr and

     Judge Erickson’s courtroom rulings and to issue rulings on matters currently pending

     before these trial judges. It is improper for Defendants to use this Court’s “all cases”

     motion in limine process as a court of first appeal, attempting to influence the rulings of

     trial judges who are currently considering post-trial motions that raise identical




     1205738.1                                      -1-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 2 of 23




     arguments. Further, when viewed in context and with Defendants’ cross-examinations

     and jury arguments, the challenged arguments and evidence are fair and appropriate

     subjects for closing argument. Thus, Plaintiffs ask this Court to deny this Motion in its

     entirety, or at least defer to the trial judge to rule in context during trial.

                    A. Defendants’ Motion is an Improper Vehicle to Undermine Trial
                    Judges’ Rulings Based on the Entire Record and Interfere with Pending
                    Post-Trial Issues.

                 Defendants should not be permitted yet another bite at the apple. A motion

     asking the Court to vacate the judgment and grant a new trial is pending in front of Judge

     Carr (Berger v Philip Morris USA Inc., Case No. 3:09-cv-14157). In the Berger motion,

     Defendant Philip Morris USA makes many of the same arguments, citing the same

     portions of the record, as it does here. See Berger Dkt. 139, Defendant’s Motion for New

     Trial, or in the Alternative Remittitur, at 17-20. Defendants filed a similar motion in

     Kerrivan before closing argument (Kerrivan v RJ Reynolds Tobacco Co. et al, Case No.

     3:09-cv-13703, Dkt 91, Defendants’ Motion To Preclude Plaintiff’s Counsel From

     Making Improper Closing Arguments), and will likely raise these issues again in post-

     trial motions. There is no reason Judge Carr and Judge Erickson will not be able to make

     sound post-trial rulings, having presided over the entire trial, hearing all the evidence and

     argument in context, and further briefing from the parties. Plaintiffs respectfully ask the

     Court to defer ruling on this Motion to permit these and other trial courts to rule on such

     matters as they arise in trial.

                    B. Plaintiffs May Highlight the Weaknesses in Defendants’ Case and
                    Comment on Witnesses’ Credibility in Closing Argument.

                 Defendants seek to exclude vast swaths of relevant evidence and preclude fair and

     appropriate argument by mischaracterizing Plaintiffs’ remarks as “improper” attacks on



     1205738.1                                       -2-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 3 of 23




     Defendants’ right to defend themselves. When viewed in context, these comments on the

     weaknesses and inconsistencies in Defendants’ theory of the case and the credibility of

     their witnesses are classic, appropriate closing argument. For these reasons, trial judges

     generally have disagreed with Defendants’ interpretation of the evidence and argument

     described in their Motion and overruled repeated objections and motions for mistrial on

     identical grounds. See, e.g. Ex. 1, Berger Trial Tr. at 2438-40 (“He’s not saying that you

     do not have a right to present a defense. But if somehow your defense is presented in bad

     faith or is based upon something that’s false or untrue [sic]. He’s not saying that…. I did

     not interpret his statement in that way, and I don’t believe that the jury would.”, Ex. 2,

     Graham v RJ Reynolds Tobacco Co. et al, 3:09-cv-13602 Trial Tr. Vol. VII Afternoon

     session, 206:18-207:3 (May 21, 2013)). Under the guise of a motion in limine, and based

     on cherry-picked isolated excerpts taken out of context, Defendants ask this Court to

     second-guess Judge Carr and Judge Erickson’s courtroom rulings and to issue rulings on

     matters currently pending before these trial judges. It is improper for Defendants to use

     this Court’s “all cases” motion in limine process as a court of first appeal, attempting to

     influence the rulings of trial judges who are currently considering post-trial motions that

     raise identical arguments. Further, when viewed in context and with Defendants’ cross-

     examinations and jury arguments, the challenged arguments and evidence are fair and

     appropriate subjects for closing argument. Thus, Plaintiffs ask this Court to deny this

     Motion in its entirety, or at least defer to the trial judge to rule in context during trial.).

     Defendants’ cherry-picked snippets provide no basis for this Court to revisit prior rulings,

     nor does their Motion give sufficient context for this Court to preemptively rule on

     matters best left for the trial court’s discretion.




     1205738.1                                      -3-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 4 of 23




                 Parties are free to challenge their opponents’ theories of the case and comment on

     their witnesses’ credibility. An attorney is given “leeway in closing arguments to suggest

     inferences based on the evidence, highlight weaknesses in the opponent’s case, and

     emphasize strengths in their own case.” Soltys v. Costello, 520 F.3d 737, 745 (7th Cir.

     2008); see also Ratliff v. Schiber Truck Co., 150 F.3d 949, 957 (8th Cir. 1998) (“Counsel

     are given wide latitude in arguing inferences from the evidence presented.”). As the

     federal court system’s website explains:

                        Closing arguments are the opportunity for each party to remind
                        jurors about key evidence presented and to persuade them to adopt
                        an interpretation favorable to their position. At this point, parties
                        are free to use hypothetical analogies to make their points; to
                        comment on the credibility of the witnesses, to discuss how they
                        believe the various pieces of the puzzle fit into a compelling
                        whole, and to advocate why jurors should decide the case in their
                        favor.

     Administrative Office of the U.S. Courts, “Differences Between Opening Statements and

     Closing Arguments,” available at http://www.uscourts.gov/educational-resources/get-

     informed/federal-court-resources/opening-statements-closing-arguments.aspx (accessed

     Nov. 14, 2014). In closing, parties are permitted to expose inconsistencies in an

     opponent’s case.

                 When viewed in context, the arguments Defendants mischaracterize as “imposing

     liability” “for refusal to admit liability,” Mot. at 1-3, merely point out weaknesses in their

     case and comment on their witnesses’ credibility. For example, in every Federal Engle

     progeny case to date, Defendants have contested that nicotine addiction caused the

     plaintiff’s disease. Typically, Defendants offer evidence and argue that the smoker’s free

     choice, not addiction, was the legal cause of disease. During closing argument, Plaintiffs’

     counsel has attempted to discredit this theory in several ways, including (1) pointing out



     1205738.1                                       -4-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 5 of 23




     that Defendants’ position is contrary to the overwhelming scientific consensus, Ex. 1,

     Berger Trial Tr. Vol. 15 at 2418-19, (2) showing Defendants’ internal recognition that

     they cannot defend “free choice” when someone is addicted, see, e.g., Ex. 3, Berger Trial

     Tr. Vol. 11 at 1877-78; and (3) arguing that the Defendants’ position defies logic, since

     their experts and corporate representatives admit that addiction leads to persistent daily

     smoking, and that persistent daily smoking causes disease. Ex. 1, Berger Tr. at 2531-33.

     To illustrate this latter point, Plaintiffs’ counsel appropriately has commented on

     Defendants’ witnesses’ credibility –they will acknowledge that addiction causes smoking,

     and smoking causes disease, but they fail or refuse to admit the logical conclusion that

     nicotine addiction causes disease. Defendants’ effort to prevent Plaintiffs from arguing

     this crucial point, under the guise of Due Process, is little more than an attempt to remove

     a straightforward, evidence-backed closing argument from their opponents’ quiver,

     because it has seemingly resonated with juries.

                 Likewise, when placed in context, Plaintiffs’ evidence and arguments regarding

     Defendants’ refusal to acknowledge current scientific evidence and past wrongful

     conduct appropriately point out the weaknesses and inconsistencies in Defendants’

     theories on punitive damages and comment on defense witnesses’ credibility. For

     example, in Phase II, Defendants routinely offer “mitigation” evidence, including current

     efforts to improve safety, reduce youth smoking, and cooperate with the FDA and other

     public health authorities. See, e.g. Ex. 4, Kerrivan Trial Tr at 51:5-110:16; Ex. 5,

     Burkhart Trial Tr at 47:11-86:1, 107:6-139:6. Based on this testimony, Defendants

     typically argue that they are “changed companies” that no longer require deterrence or

     punishment for the conduct that harmed the plaintiff. See, e.g., Ex. 4, Kerrivan Oct. 21,




     1205738.1                                      -5-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 6 of 23




     2014, Tr. at 56-62 (“We support a single, consistent public health message on the role of

     cigarette smoking in the development of disease in smokers, and on smoking and

     addiction.”). Defendants typically rely solely on corporate witness testimony to provide

     this “mitigation” evidence, asking juries to trust their version of current events. In

     fairness, Plaintiffs’ counsel is entitled to challenge these witnesses’ credibility through

     cross-examination and then rebut Defendants’ mitigation arguments based on their

     corporate witnesses’ testimony. For example, Plaintiff may point out that these witnesses

     continue to disagree with Surgeon General Report conclusions and refuse to admit that

     the company engaged in past wrongful conduct. This evidence is not offered for the

     purpose of punishing defendants for defending themselves, but rather to challenge

     effectively Defendants’ theory that no amount of punitive damages is warranted and to

     discredit their witnesses regarding “mitigation.”1 For these reasons, just as trial courts

     have routinely overruled objections to this type of evidence and argument, this Court

     should deny or defer this Motion regarding “criticism of Defendants for defending

     themselves.”

                  C. Plaintiffs are Entitled to Suggest Inferences Based on the Record and
                  Make Fair and Appropriate Analogies.

             Defendants further seek to hamstring Plaintiffs from drawing fair inferences from

     the record, citing misleading snippets of closing argument permitted over or without

     objection. Again, Defendants ask this Court to substitute its judgment for that of the trial

     judges who spend two weeks listening to the evidence from both sides and enforcing

     consistent boundaries for the parties’ conduct at trial. For example, Defendants seek to

     1
      These examples are illustrative, not exhaustive. Plaintiffs incorporate in full their response to Defendants’
     Motion to Limit the Testimony of Robert Proctor, Ph.D., filed contemporaneously with this Opposition,
     explaining additional reasons why this evidence is admissible, including to rebut the statute of repose
     defense.


     1205738.1                                            -6-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 7 of 23




     preclude argument that Defendants’ intentional conduct has caused the premature deaths

     of hundreds of thousands of people, among them parents, children, grandparents, aunts,

     uncles and siblings. Mot. at 7. Defendants do not mention that in Berger, the trial court

     permitted this statement over objection. Ex. 1, Berger Trial Tr. Vol. 15 2471. Nor do

     they note that in Kerrivan, Judge Erickson explicitly approved this line of argument over

     Defendants’ preemptive objection, calling it a “fair summary of the facts.” Ex. 6,

     Kerrivan Trial Tr. Day 8 at 106-07 (Oct. 16, 2014).

             Context matters. Defendants, however, omit their remarks that opened the door to

     the arguments they now seek to preclude, as well as the supporting evidence. For

     example, after Defense counsel argued in closing that Mrs. Berger bore 100% of the fault

     for her decision to start smoking as a 13- or 14-year-old girl, Trial Tr. at 2489-90,

     attached as Ex. 1, her counsel appropriately responded in rebuttal that:

                     the last people on earth who get to come in and blame Mrs. Berger
                     for choosing to smoke at age 13 is the cigarette industry that
                     studied 14-year-olds and kids and 13-year-olds and is the industry
                     that used to come in and advertise to smoke, smoke, smoke. Those
                     are the same people now trying to blame them.

     Id. at 2539-40. In this context, and only after Defendant opened the door (by arguing that

     13-year-old Judith Berger should have listened to her father who told her that only

     “hookers” and “call girls” smoke (Ex. 7, Berger Trial Tr. at 524)), Plaintiff’s counsel

     drew the analogy between a child who starts smoking in response to tobacco

     advertisements and one who is injured after accepting candy from a stranger. Mot. at 8.

     This argument was a fair inference based on the record: at trial, the jury saw evidence in

     the form of internal company documents indicating that cigarette manufacturers studied

     adolescents at parks, playgrounds and swimming pools, where they could be interviewed

     outside the presence of their parents. Ex. 8, Berger Trial Tr. Vol. 6 at 904-12 (Sept. 4,


     1205738.1                                    -7-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 8 of 23




     2014). The trial judge, who viewed all the evidence and heard all the argument in the

     case, overruled Philip Morris’s objection and denied its subsequent motion. Ex. 1,

     Berger Trial Tr. Vol. 15 at 2539-41, 2545. A post-trial motion that rests in part on these

     same grounds is currently pending before the trial court, and Philip Morris should not be

     permitted to use this Court as a de facto interlocutory appeal.

                 The other arguments Defendants cite fare no better when put back in the trial

     context from which they were extracted. First, Defendants cite a truck driver accident

     analogy that Defense counsel first used as a purportedly improper argument by Plaintiff’s

     counsel. In both his opening statement and closing argument, Defense counsel employed

     a truck accident analogy to assist jurors in distinguishing between the concepts of

     medical and legal causation. Ex. 7, Berger Trial Tr. Vol. 3 at 516-517, Ex. 1, Berger

     Trial Tr. Vol. 15 at 2510. Plaintiff’s counsel, in his rebuttal closing argument, merely

     converted the hypothetical from one illustrating ordinary negligence to one illustrating

     wanton, reckless, deliberately indifferent and/or intentional conduct. Ex. 1, Berger Trial

     Tr. at 2543-44.

                 Similarly, the “warfare” analogy Defendants cite from the Starbuck trial

     conveniently omits Defense counsel’s argument that preceded it. Attempting to discredit

     one of the expert witnesses who testified on behalf of Mr. Starbuck, Defense counsel said

     to the jury:

                 Take Dr. Cummings, for example. Dr. Cummings is -- is passionate about
                 tobacco companies, and that’s, of course, his right, but you get to take that
                 into account. He considers himself to be involved in a war on tobacco.
                 He brought that war into the courtroom. This was a battle for him, and
                 you are entitled to take that into account as you listen to it.

     Ex. 9, Starbuck, Starbuck v RJ Reynolds Tobacco Co. et al, Case No. 3:09-cv-13250,

     Trial Tr. Vol. IX, Afternoon session, at 109 (May 15, 2014). Defendants introduced the


     1205738.1                                        -8-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 9 of 23




     “battlefield” theme, developing it through cross-examination of plaintiff’s expert witness

     and in closing argument. To cry foul when Plaintiff’s counsel, accepting Defendants’

     theme as his argument’s premise, responds in rebuttal that the expert’s so-called “war” is

     a worthy cause does not inflame the jury’s passions; it attempts to rehabilitate an expert’s

     credibility using the same terms in which his credibility was assailed.

                 These are but three examples of a daily phenomenon in Engle progeny trials:

     Defendants introduce prejudicial evidence and make aggressive arguments, and then

     when Plaintiffs respond by walking through the open door, Defendants accuse Plaintiffs’

     counsel of impropriety and gross violations of Constitutional rights. Still, when they cite

     a case invoking Adolf Hitler, perhaps Defendants tip their hand: no longer satisfied to be

     zealous advocates, they are using theatrics and selective editing to gain advantage in a

     different forum. See Mot. at 10. The continuous motion practice citing isolated half-

     statements out of context seem to have no end. See, e.g., Order Denying Defendants’

     Motion for Recusal at 5, Starbuck v. R.J. Reynolds, et al., No. 3:09-cv-13250-WGY-

     HTS, entered Nov. 17, 2014 (Doc. 136) (“In short, the comments on which PM USA

     relies to try to cast doubt on my impartiality, when considered by an objective,

     disinterested, lay observer fully informed of their context would not raise a significant

     doubt about my impartiality or any concern that I am biased against tobacco defendants

     or defendants in products liability cases.”) (emphasis in original).

                 This Court, without viewing each entire Engle trial in context or at least reading

     the full transcripts, is not in a position to fairly rule on trial-specific evidentiary issues. In

     sum, Defendants’ attempt to use a motion in limine to undermine trial court rulings and




     1205738.1                                       -9-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 10 of 23




     influence pending post-trial motions is as improper as their examples are misleading.

     The motion should be denied.

     II.         WHETHER WITNESSES SHOULD BE PRECLUDED FROM
                 TESTIFYING ABOUT WHAT A SMOKER “WOULD HAVE DONE”
                 SHOULD BE DEFERRED TO TRIAL

                 Defendants seek to prevent the jury from considering any testimony from any

     witness with useful knowledge as to what the smoker would have done in a specific set of

     circumstances.        Plaintiffs oppose and aruge that the issue must be deferred for

     determination at trial based on the anticipated testimony to be offered.

                 To the extent that Defendants are arguing that a smoker may not testify as to what

     he or she would have done in a given set of circumstances, the smoker should be

     permitted to so testify. A smoker’s own testimony about what he or she would do is

     based on his or her knowledge and perception, and the smoker has the best information to

     aid the fact-finder in determining a fact in issue – namely, what the smoker would have

     done. Keeping that information from the jury removes helpful evidence contrary to Rule

     701. Fed. R. Evid. 701            To the extent that Defendants are arguing that no other

     witnesses may testify about what the smoker would have done, the response is only

     slightly different. A third-party witness testifying about what a smoker would have done

     may have knowledge based on perceptions that might be helpful in aiding the jury’s

     determination.       For example, a witness may have witnessed the smoker’s routine

     practices or the smoker’s opinions on smoking.               See, e.g., Fed. R. Evid. 406.

     Accordingly, to the extent that the witness’s testimony offers knowledge useful to the

     jury’s determination of a fact in question, the testimony should be permitted.

                 Whether any particular witness’s answer to a particular question would amount

     to speculation would depend on the specific witness and the specific question. Whether


     1205738.1                                      -10-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 11 of 23




     such testimony would constitute speculation cannot be determined preemptively.

     Resolution of the issue should await trial. Moreover, to the extent that Defendants

     contend that the witness’s testimony would be self-serving, that argument would go to the

     weight the jury should assign to the testimony and not whether it should be admitted.

                 Finally, Defendants’ argument may be read to preclude Plaintiffs from asking the

     jury to consider the common-sense reality that, as more information about smoking

     hazards has made its way into public discourse, the number of smokers has dwindled

     because people have heeded warnings against smoking. Likewise, Defendants concealed

     internal knowledge regarding the hazards of smoking because Defendants knew potential

     smokers would act differently if they had accurate information regarding cigarettes.

     Plaintiffs should be permitted to argue based on logic alone that had a smoker known

     more about the extreme hazards of smoking, he would not have begun smoking in the

     first instance.

     III.        PLAINTIFF’S OPPOSITION RE “TIMELINE” DEMONSTRATIVE.

                 Nearly a dozen different Federal judges presiding over Engle progeny cases have

     permitted Plaintiffs to use a demonstrative timeline to aid the jury in understanding the

     evidence, over or without objection. Defendants have also used similar aids; in at least

     one case, they used the same technique they now ask this Court to preclude: adding post-

     it notes to a continuous timeline throughout trial summarizing evidence. See, e.g., Ex.

     10, Burkhart v R.J. Reynolds Tobacco Co. et al, Case No. 3:09-cv-10727, Trial Tr. Day 3,

     Afternoon Session (May 7, 2014) at 19:19-23, 51:20-52:23, 53:11-13, 54:9-22, 55:10-15,

     56:18-24, 72:16-19, 76:5-7, 139:2-7; Ex. 12, Burkhart Trial Tr. Day 4, Afternoon

     Session, (May 8, 2014) at 67:3-68:25, 83:9-20, 97:20-98:10. Jurors apparently find these

     timeline demonstratives helpful – in at least two cases, the jurors asked the Court to send


     1205738.1                                     -11-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 12 of 23




     the parties’ timelines back to the jury room during deliberations. Ex. 13, Searcy v R.J.

     Reynolds Tobacco Co. et al, Case No. 3:09-cv- 13723, Trial Tr. Vol. 5 (Apr. 1, 2013) at

     109:4-6; Ex. 14, Burkhart Trial Tr. Day 9 Morning Session (May 15, 2014) at 8:24-9:2.

     Nevertheless, these timelines have never been admitted as substantive evidence or

     summaries under Rule 1006, but rather are intended and used merely as pedagogical tools

     during trial.

                 Defendants do not challenge the use of timeline demonstratives—but rather ask

     that this Court now require in all cases that Plaintiffs start a new timeline “fresh” with

     each witness. Mot. at 16. Defendants offer no basis for this Court to reconsider previous

     rulings on Plaintiffs’ demonstrative timelines and should not now be permitted to

     complain about a device they have also employed; on these bases alone, the motion

     should be denied. See, e.g., S.E.C. v. Huff, 2010 WL 541634, at *1 (S.D. Fla. Feb. 9,

     2010) (relief on reconsideration is “an extraordinary remedy to be employed sparingly”);

     United States v. Zarabozo, 2008 WL 5062463, at *1 (S.D. Fla. Nov. 26, 2008) (“The

     standard for granting reconsideration is strict and will generally be denied[.]”); Burger

     King Corp. v. Ashland Equities, Inc., 181 F. Supp. 2d 1366, 1369 (S.D. Fla. 2002) (a

     reconsideration motion will be denied unless the movant clearly establishes (1) a material

     intervening change in controlling law, (2) the availability of new evidence justifying

     reversal of the previous decision, or (3) the need to correct clear error or prevent manifest

     injustice). Further, this belated objection has no basis in law or fact, impedes the trial

     court’s broad discretion over presentation of the evidence, and frustrates the very purpose

     of demonstrative evidence—to help the jury understand the issues at trial, and thus,

     Plaintiffs respectfully ask the Court to deny this motion with prejudice or at least defer it




     1205738.1                                     -12-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 13 of 23




     to trial, so that each judge can evaluate any proposed demonstrative in context. See, e.g.,

     Contract Mgmt. v. Babcock & Wilcox Tech. Servs. Y-12, LLC, 2012 U.S. Dist. LEXIS

     102854, 2012 WL 2529214 (E.D. Tenn.June 29, 2012) (finding it “inappropriate and

     premature” to exclude demonstrative timeline aid before trial, and thus, “[t]he Court

     cannot, and will not, rule that this demonstrative aid, subject to its information being

     established as accurate and relevant and not being evidence intended for admission at

     trial is inadmissible at trial.”).

                 Defendants concede that Courts may allow parties to present a chart or aid that

     summarizes evidence that has already been presented at trial. Specifically, Federal Rule

     of Evidence 611(a):

                 provides the authority for a trial judge to allow the use of summary charts
                 and exhibits based on evidence adduced at trial. . . . [M]any opinions have
                 cited that rule as authorizing summaries of trial evidence, even though the
                 placement and language of Rule 1006 indicates that it is intended to
                 provide a substitute for presentation at trial of voluminous evidence and an
                 escape from the Best Evidence Rule. Rule 611(a) is much more apt
                 authority for summaries of evidence that has already been presented at
                 trial. The rule plainly gives the trial judge leeway to permit or to disallow
                 various forms of summary evidence in the interests of promoting a fair
                 trial.

     3 Stephen Saltzburg, et al., Federal Rules of Evidence Manual 611-6 (10th ed., 2011).

                 As Courts and commentators have long recognized, “[d]emonstrations are one of

     the most effective means of clarifying testimony.” 4-611 Weinstein’s Federal Evidence §

     611.02 (citing e.g., United States v. Spoerke, 568 F.3d 1236, 1249–1250 (11th Cir.

     2009)). Generally, “courts look favorably upon the use of demonstrative evidence

     because it helps the jury understand the issues raised at trial.” Id. (citing authorities).

     “The federal district courts have significant discretion to determine whether a particular

     demonstrative aid will indeed be helpful or cause confusion or prejudice under Rule



     1205738.1                                       -13-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 14 of 23




     403.” James v. Haven Homes Southeast, Inc., 2011 U.S. Dist. LEXIS 19795,2011 WL

     777971(M.D. La. Feb. 28, 2011) (citing Kenneth S. Broun, McCormick on Evidence §

     214 (2009)) (emphasis added).

                 It is well within the Court’s discretion to allow Plaintiffs to display a timeline

     throughout trial. E.g., United States v. Posada-Rios, 158 F.3d 832 (5th Cir. 2000)

     (holding no abuse of discretion where the government was permitted to display

     throughout the trial a timeline and organizational charts because the charts, although not

     admitted into evidence, were pedagogical devices, and the jury was instructed as to their

     proper purpose). Further, as here, Courts may allow demonstrative aids to summarize

     documents, testimony, and expert opinion already in evidence, to contribute to the clarity

     of the presentation, promote efficiency, and help the jury put together the evidence in a

     complex trial. See id; United States v. Gardner, 611 F.2d 770, 776 (9th Cir. 1980)

     (“[W]e reject Gardner’s contention that the defense was unduly prejudiced by the

     Government’s use of a chart summarizing the assets, liabilities and expenditures of the

     appellant. . . . The chart was a summary of facts and calculations which were in evidence.

     . . . The use of the chart in court contributed to the clarity of the presentation to the jury,

     avoided needless consumption of time and was a reasonable method of presenting the

     evidence. It was well within the discretion of the court to permit this use pursuant to Fed.

     R. Evid. 611(a).’); see also United States v. Stiger, 371 F.3d 732 (10th Cir. 2004) (charts

     summarizing expert opinion admissible under Rule 611(a) because they assisted the jury

     in putting together the testimony in a complex trial). Here, using this discretion, in trial

     after trial, federal trial judges in Engle cases appropriately have allowed Plaintiffs to

     build a continuous timeline throughout trial with multiple witnesses to summarize the




     1205738.1                                        -14-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 15 of 23




     voluminous scientific documents describing conduct spanning 50 years, clarify the

     testimony, and aid the jury in putting together the evidence.2

                 Defendants fail to show that one timeline demonstrative – built during trial under

     the Court’s close supervision—should be categorically prohibited under Rule 403.

     Defendants’ primary objection is the obvious point that Plaintiffs’ timeline is

     “argumentative”—but of course, demonstrative aids are not neutral—that is what

     distinguishes them from evidence. “Demonstrative exhibits are meant to ‘illustrate or

     clarify a party's position,’ and they are by definition “less neutral in [their] presentation’

     and thus are not properly considered evidence.” Baugh v. Cuprum S.A. De C.V., 730

     F.3d 701, 706-707 (7th Cir. 2013) (quoting United States v. Milkiewicz, 470 F.3d 390,

     396-98 (1st Cir. 2006) (internal citations omitted). Just because these timelines are

     persuasive does not make them misleading, confusing or unfairly prejudicial – and the

     trial court is in the best position to make that judgment call if an objection is raised.

                 Defendants’ cited authorities are inapposite, unfavorable to their position, or both.

     For example, United States v. Lord, 710 F. Supp. 615, 618-619 (E.D. Va. 1989), had

     nothing to do with whether a party may display a demonstrative summarizing complex

     testimony and documents during trial, but rather addressed whether a court properly

     excluded a chart appearing for the first time in closing argument purporting to summarize

     2
       Defendants’ reliance on Judge Erickson’s order in Kerrivan is misplaced. In Kerrivan,
     the Court did not preclude Plaintiff from using the same timeline with multiple
     witnesses—in fact, Defense counsel did not object to Plaintiff’s counsel using the board
     continuously with the expert witnesses Ex. 15, Kerrivan v R.J. Reynolds Tobacco Co. et
     al, Case No. 3:09-cv-13703, Trial Tr. Day 3 (Oct. 8, 2014) at 6:23-8:4; 10:19-23 . The
     only limitation imposed was to require Plaintiff’s counsel to wait until the end of the
     Plaintiff’s testimony to add the sticky notes to the timeline. Ex. 16, Kerrivan Trial Tr.
     Day 6 (Oct. 14, 2014) at 284:2-15. Judge Erickson’s Order further shows that Plaintiffs’
     timeline demonstratives are appropriate, and that any determinations regarding the
     presentation of evidence should be left to the trial judge’s discretion.


     1205738.1                                       -15-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 16 of 23




     witnesses’ testimony--an objection expressly not at issue here. The holdings in United

     States v. Ray, 370 F.3d 1039, 1047 (10th Cir. 2004), and United States v. Baker, 10 F.3d

     1374, 1412 (9th Cir. 1993), undermine Defendants’ arguments. In Ray, the Court

     affirmed the trial court’s judgment, holding that where, as here, there were many exhibits

     and witnesses spanning a multi-week trial, the trial court did not err in allowing the

     prosecutor to use summary charts with an expert during its case-in-chief. 370 F.3d at

     1047. Likewise, in Baker, the Court held that the lower court did not abuse its discretion

     under Rule 611 in admitting summary testimony from a live witness to help the jury put

     the evidence together, explaining that the Court properly instructed the jury on the limited

     scope and purpose of the testimony. 10 F.3d at 1412. For the same reasons cited in Ray

     and Baker, this Court would not abuse its discretion in permitting Plaintiffs to display a

     continuous demonstrative timeline throughout these complicated, multi-week trials

     involving hundreds of exhibits and 50 years of conduct.

                 Defendants claim unfair prejudice, because they must wait until closing argument

     to challenge the accuracy of the timeline. Not so. Defendants have multiple

     opportunities to challenge Plaintiffs’ timeline summarizing documents and testimony.

     For example, Defendants can object to a particular timeline event as irrelevant,

     misleading, or confusing. They may cross-examine the witnesses regarding the

     timeline’s accuracy. They are free to offer testimony or documents to challenge

     Plaintiffs’ evidence regarding the timeline of events. Defendants have utilized all of

     these tactics during trial and cannot point to any case in which a Court was incapable of

     adequately handling an objection to a demonstrative. Moreover, and perhaps tellingly, in




     1205738.1                                     -16-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 17 of 23




     the course of nearly a dozen appeals and post-trial motions, Defendants have never

     challenged any Court’s ruling regarding a plaintiff’s demonstrative.

                 Finally, an order requiring Plaintiffs to “start fresh” with a new timeline for each

     witness would not address any of Defendants’ stated concerns, but would impose an

     undue burden on Plaintiffs’ presentation. Defendants’ objections that a timeline is

     “argumentative” and contains “misleading snippets of testimony” apply with equal force

     no matter how many timelines are developed during trial. “Starting fresh,” however,

     would needlessly complicate and impede Plaintiffs’ presentation, add unnecessary delay

     and expense, and frustrate the well-recognized purpose of the demonstrative evidence—

     to clarify the evidence. For these reasons, Plaintiffs respectfully ask the Court to deny

     the Motion or defer to each trial judge to rule on the demonstratives in context.

     IV.         THE “GALLUP DOCUMENTS” ARE ADMISSIBLE TO IMPEACH
                 DEFENDANTS’ EXPERTS

                 Defendants’ expert historians opine that the public was aware of the health risks

     associated with smoking in the 1950s and quote Gallup polls to support this proposition.

     Plaintiffs will not affirmatively offer the Gallup documents at issue in their case-in-chief.

     However, if Defendants’ experts utilize the Gallup polls in the way Gallup specifically

     advised against in the Gallup Manuscript, the letter from Gallup’s editor-in chief to

     Defendants’ expert, and the corresponding Wall Street Journal article (“Gallup

     documents”), Plaintiff is entitled to use these documents to cross-examine Defendants’

     experts.

                 In 1998, the editor-in-chief at Gallup, Frank Newport, wrote to Lacey Ford – a

     historian who testifies for the cigarette industry in cases such as these. See Def’s Ex. 19.




     1205738.1                                       -17-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 18 of 23




     Dr. Newport wrote to “take exception to [Ford’s] use of Gallup Poll data” two tobacco

     trials:

                 We believe that your analysis of historical Gallup Poll data about
                 cigarette smoking leads to faulty conclusions about the risks which
                 average Americans might have assumed they were taking when they
                 started smoking prior to the Surgeon General package warnings in the
                 1960s...Specifically, your testimony attaches high importance to Gallup’s
                 June 1954 finding that 90% of Americans had heard or read that
                 ‘cigarette smoking may be a cause of cancer of the lung.’…In our
                 opinion, 90% awareness of a controversy about a possible risk is not by
                 itself indicative that the risk is common knowledge…Gallup’s attitudinal
                 measures about the risks of smoking in 1954 reveal widespread doubt
                 about the medical connection between cigarette smoking and lung cancer,
                 and do not support your conclusion that these risks were widely known.
                 We request that when you use Gallup Poll data to characterize public
                 opinion on the risks of smoking in the future, that you present the full
                 range of measures that were asked and that you provide more careful
                 interpretation of their meaning.

     Id. Counsel for R.J. Reynolds in the two Florida cases was copied on Dr. Newport’s

     letter. See id.

                 Earlier that same year, two Gallup employees, Lydia Saad and Steve O’Brien,

     drafted a Manuscript for presentation at the annual meeting of the American Association

     for Public Opinion Research. See Def.’s Ex. 18. The paper detailed the misleading

     manner in which Dr. Ford presented Gallup’s polls to juries. Id. at 2. Gallup’s objection

     to the manner in which its polls were being misconstrued by the defense expert was

     covered in the Wall Street Journal and was well known to the Defendants. See Ex. 17,

     Milo Geyelin, Gallup Accuses Big Tobacco of Misusing Poll in Court, Wall Street

     Journal, June 26, 1998.

                 The Gallup documents are admissible for the non-hearsay purpose of cross-

     examining and impeaching Defendants’ experts to the extent they use Gallup polls in the



     1205738.1                                     -18-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 19 of 23




     very manner that Gallup protested. Defendants’ historians in these cases cite to Gallup

     polls in their reports in support of their opinion that there was widespread public

     knowledge of the health effects of smoking as early as the 1950s.3 Plaintiff should be

     permitted to introduce Gallup’s critique of this use of Gallup’s polls.

                 Defendants cite to several cases where the Manuscript written by Ms. Saad and

     Mr. O’Brian was excluded. In the majority of the cases cited, however, the basis for the

     exclusion was simply that the Court was unclear about the relationship between Lydia

     Saad, Steve O’Brien and the Gallup organization. See Def. Exs. 11, 13, 14. Defendants

     now acknowledge in their motion that Ms. Saad and Mr. O’Brien were employees of

     Gallup. In fact, Ms. Saad was the managing editor of Gallup, and Mr. O’Brien was

     Gallup’s General Counsel. See Ex. 21, Mar. 18 Dep. Lydia Saad, Ball v. Philip Morris,

     Inc., et al. at 16, 20. Thus, there is no question regarding whether the Manuscript was

     written by Gallup. Furthermore, the Court in the Starbuck case cited by Defendants

     indicated that documents from Gallup stating that its data was being used in a misleading

     way may be admissible. See Def. Ex. 11.4

                 Finally, Defendants make much of the fact that Ms. Saad and Mr. O’Brien spoke

     on various occasions with counsel for plaintiffs in the two cases where Dr. Ford’s

     3
       See e.g. Ex. 18, Report of Elizabeth Cobbs Hoffman, Lennox v. R.J. Reynolds, p. 39-40
     (citing 1954 Gallup poll and subsequent polls in support of proposition that the public
     was aware of the link between smoking and disease); Ex. 19, Report of Robert J. Norrell,
     Drake v. R.J. Reynolds, p. 43-44 (citing 1954 Gallup polls and subsequent polls in
     support of proposition that the public was aware of the health risks associated with
     smoking); Ex. 20 Report of Gregg Michel, Corcoran v. R.J. Reynolds, p. 19-20 (citing
     1954 Gallup poll and subsequent polls in support of proposition that there was a high
     level of awareness that smoking was harmful to health).
     4
       The Court stated, “[I]f you have other stuff to talk about that – there’s something, you
     know, where Gallup has said…We want folks to know that they are – have—they are
     using our data in a misleading or invalid way, that’s one thing. But if some third party –
     we just don’t know the connection.”


     1205738.1                                    -19-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 20 of 23




     testimony was an issue, and even imply that the Manuscript was manufactured behind the

     scenes by plaintiff lawyers. This is simply not true. Ms. Saad and Mr. O’Brien contacted

     counsel for the plaintiff to obtain transcripts and materials from the trials.5 The plaintiff

     lawyers provided Gallup with transcripts and other information requested by Gallup and

     requested additional poll data from Gallup. See Ex. 21, Saad Dep. at 30; Ex. 22, April 9,

     1999 Dep. Frank Newport, Ball v. Philip Morris, Inc., et al. at 77.

                 The conversations between Gallup and plaintiff lawyers were innocuous. Ms.

     Saad stated, “Generally – most of the conversations were very brief and just in terms of

     ‘Could you please fax this,’ you know…there’re not memorable conversations.” Ex. 21,

     Saad Dep. at 3. The contact between Gallup and plaintiff lawyers was initiated by Gallup:

     “I’m very confident in saying that we contacted them first.” Id. at 33. And despite

     Defendants’ assertion to the contrary, the possibility of Gallup testifying for

     compensation was not discussed: “Q: [T]he invitation to testify in trial was as a paid

     expert witness? A. Never got to that point…she didn’t -- we didn’t talk about you will

     be paid or you won’t be paid or whatever.” Def. Ex. 17 at 64-65.

                 The Gallup organization was not co-opted by Plaintiff lawyers when it wrote the

     Manuscript and the letter to Mr. Ford. Gallup acted independently to prevent its data

     from being misused and misrepresented:

                 I feel there is a high degree of propriety in myself and Gallup attempting
                 to see that Gallup Poll data are used correctly…I was signing a letter on
                 behalf of the Gallup Poll…I felt it was appropriate as the head of the
                 Gallup Poll to sign the letter… requesting that Dr. Ford give a full and


     5
      Though Defendants imply that one of Plaintiffs’ counsel on the cases at hand, Woody
     Wilner, was communicating with Gallup, neither Lydia Saad nor Mr. O’Brien spoke to
     Mr. Wilner. Ex. 21, Saad Dep. at 31; see also Def. Ex. 17 (Steven O’Brien testifies that
     he spoke to Stephanie Hartley at the Spohrer Wilner law firm).


     1205738.1                                     -20-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 21 of 23




                 accurate representation of Gallup Poll data when he used it in whatever
                 form.

     Ex. 22, Newport Dep. at 105-106, 123.

                 If Defendants’ experts choose to use Gallup polls in a way Defendants know is

     opposed by Gallup itself, it calls into question the experts’ motives, credibility, and

     competence.        Plaintiffs should be allowed to use these documents to impeach the

     Defendants’ experts. When used in this way, the Gallup documents would not be hearsay

     as they would not be used to prove their truth, but to demonstrate the flaws in the experts’

     methodology. See Fed. R. Evid. 801(c). Gallup documents have been admitted in state

     court cases on this very basis.6 Therefore, Plaintiffs respectfully request that the Court

     deny Defendants’ motion.

     V.          PLAINTIFFS DO NOT INTEND TO INTRODUCE EVIDENCE OF THE
                 MERGER BETWEEN LORILLARD, INC. AND REYNOLDS
                 AMERICAN, INC IN PHASE I OF ANY TRIAL.

                 Defendants seek to exclude all evidence and argument concerning the pending

     $27.4 billion acquisition of Lorillard, Inc., by Reynolds American, Inc. Plaintiffs do not

     intend to introduce evidence regarding the “potential” transaction during any plaintiff’s

     case in chief during Wave 7. Plaintiffs reserve the right to seek admission of such

     evidence during the punitive damages phase on any trial, should one occur. Plaintiff will

     argue the merits of Defendants’ Motion and the admissibility of such evidence at that

     time, if needed.       At this time Plaintiffs ask the Court to deny Defendants’ Motion


     6
      See Ex. 23, Trial Transcript at 2408-2410, Webb v. R.J. Reynolds Tobacco Co., No. 38
     2009 CA 001285, November 10, 2010 (Wall Street Journal article used to cross-examine
     defendant’s historian); Ex. 24, Trial Transcript at 2138-2141, Schlenther v. R.J. Reynolds
     Tobacco Company, et al., No. 10-005736, October 11, 2012 (Overruling defense
     counsel’s hearsay objection to allow use of the Wall Street Journal article to cross
     examine Defense historian).


     1205738.1                                    -21-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 22 of 23




     as moot.




     Dated: November 17, 2014                 Respectfully submitted,


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     1205738.1                         -22-
Case 9:15-cv-80021-JIC Document 35 Entered on FLSD Docket 11/18/2014 Page 23 of 23




                                     CERTIFICATE OF SERVICE

                 On November 17, 2014, I electronically filed this document through the ECF

     system, which will send a notice of electronic filing to all counsel of record.

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     1205738.1                                      -23-
